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                              UNITED STATES DISTRICT COURT FOR THE
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                         Case Number: 21-22770-CIV-MARTINEZ/BECERRA

  MATTHEW ESTEVEZ,

         Plaintiff,

  v.

  DISTRESSED SOLUTIONS, LLC,

        Defendant.
  _______________________________________/
                             ORDER ON NOTICE OF SETTLEMENT
         THIS CAUSE came before the Court upon the parties’ Joint Notice of Settlement, (ECF
  No. 24), which states that they have settled this case. Accordingly, it is:
         ORDERED AND ADJUDGED as follows:
         1.      The parties shall file either a Notice of Dismissal (if the Defendant has not served
  an answer or motion for summary judgment) or a Stipulation of Dismissal (signed by all parties
  who have appeared in this action), which must be filed with the Clerk of the Court; a proposed
  Order of Dismissal or Final Judgment; and any other documents necessary to conclude this action
  on or before 30 days of the date of this Order. See Anago Franchising, Inc. v. Shaz, LLC, 677
  F.3d 1272, 1280 (11th Cir. 2012).
         2.      If the parties fail to comply with this Order, the Court shall dismiss this case without
  prejudice without any further warning.
         3.      The Clerk is DIRECTED to DENY ALL PENDING MOTIONS AS MOOT.
         4.      The Clerk shall ADMINISTRATIVELY CLOSE this case for statistical
  purposes only. This shall not affect the substantive rights of the parties.
         DONE AND ORDERED in Chambers at Miami, Florida, this 7th day of January, 2022.


                                                        ____________________________________
                                                        JOSE E. MARTINEZ
  Copies provided to:                                   UNITED STATES DISTRICT JUDGE
  Magistrate Judge Becerra
  All Counsel of Record
